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                      EXHIBIT A


     PLAINTIFF’S RESPONSE IN OPPOSITION
   TO THE KOZLOWICZ GROUP’S “MOTION FOR
          PRELIMINARY INJUNCTION”




            Civil Action No. 1:18-cv-00546-RCL

              Ute Indian Tribe of the Uintah
              and Ouray Indian Reservation,

                           Plaintiff,

                               V.


            The United States of America, et al.

                         Defendants.
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                     IN THE UNITED STATES DISTRICT COURT
                      DISTRICT OF UTAH, CENTRAL DIVISION

UTE INDIAN TRIBE OF THE UINTAH &
OURAY RESERVATION, UTAH,
                                               UINTAH COUNTY’S MOTION FOR
       Plaintiff,                             SANCTIONS AGAINST MR. GARDNER

V.
                                                     AND MS. KOZLOWICZ

THE STATE OF UTAH, DUCHESNE                              Consolidated Action
COUNTY, apolitical subdivision of the State   Civil Nos. 2:13-cv-00276 & 2:75-cv-00408
of Utah; ROOSEVELT CITY, a municipal
corporation; DUCHESNE CITY, a municipal                Judge Bruce S. Jenkins
corporation; MYTON, a municipal
corporation; and UINTAH COUNTY, a
political subdivision of the State of Utah
        Defendants.



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         Pursuant to DUCivR 1-2 and 7-1(a), Uintah County respectfully files this Motion for

Sanctions Against Mr. Gardner and Ms. Kozlowicz.1

                                             INTRODUCTION

         “Mr. Gardner is not a stranger to this court. He has filed many lawsuits, and many

motions, in this venue over the years.” Gardner v. Wilkins, No. 2:13-CV-1027, 2013 WL

2465512, at *1 (D. Utah Jun. 2, 2013). In fact, as the Tenth Circuit has stated:

                 Litigation regarding Gardner’s Indian status is a road well-
                 traveled. He does not claim to be a member of a federally
                 recognized tribe. Rather, he claims only to be a descendant of a
                 former member, as are many other Americans. Despite his best
                 efforts in federal, state, and tribal court, this heritage does not
                 entitle him to Indian status, whether or not he lives or works on the
                 reservation.

Gardner v. Wilkins, 535 Fed. Appx. 767, 767 (10th Cir. 2013) (unpublished); see also Gardner v.

Wilkins, No. 14-4090, 2014 WL 6679584, at *1(10th Cir. Nov. 26, 2014) (unpublished) (“Mr.

Gardner has a history of unsuccessfully litigating similar issues based on his purported Indian

status.”).

        In this litigation alone, Mr. Gardner and Ms. Kozlowicz appear to have made more than

thirty-four separate filings, including twelve frivolous filings in just more than the last month.

(See, e.g., Dkt. Nos. 16—17, 19, 26, 29, 37, 59—60, 69, 78, 81, 93, 114—15, 132, 134—37, 139,

174, 334, 743, 750—51, 759—60, 767—70, 773-76.) In a case, at present, involving over 770

docket entries, this might appear to be a minute number of filings; however, Mr. Gardner and

Ms. Kozlowicz are not parties to this litigation. See Order, No. 2:75-CV-00408 (D. Utah Mar.

  Currently, the portion of this case concerning Uintah County is before the Tenth Circuit on appeal of issues
relating to sovereign immunity. However, this Court retains jurisdiction to address ministerial functions which
includes management of the Court’s docket. Uintah County therefore believes this Court retains jurisdiction to
address Uintah County’s Motion seeking to stop the numerous and continuing improper filings by Mr. Gardner and
Ms. Kozlowicz.
                                                          2

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24, 2000) (“The relief sought by Edson Gardner and Lynda M. Kozlowicz is sought by non-

parties to this litigation.” (internal citations omitted)). Their non-party status is not due to a lack

of effort. To the contrary, Mr. Gardner and Ms. Kozlowicz are “indefatigable diehards” who

have filed five different motions to intervene in this case, including the present Motion. (See

Dkt. Nos. 81, 115, 135, 174, 743.) On each prior occasion, the Court has denied Mr. Gardner

and Ms. Kozlowicz’s attempts to intervene. (See Dkt. No. 95 (“[D]enying [8 1-1] motion to

intervene pursuant to FRCP 24(a) on the grounds re: these claims of interest relating to

jurisdiction transaction which is the subject of this action may impair/impede their ability to

protect their interest.”); Id. at 142 (“IT IS HEREBY ORDERED that the same are DENIED.

In the event that the named petitioners have a lawsuit, they should commence a separate lawsuit

on their own.”); Id. at 326 at 7 n. 13, 8 (“IT IS FURTHER ORDERED that the motion to

intervene filed by Edson Gardner and Lynda Kozlowicz is denied.” (internal citations omitted)).)

In fact, the Court most recently denied a motion to intervene by Mr. Gardner and Ms. Kozlowicz

on November 14, 2013. (See Dkt. No. 326.)

       Despite their non-party status, and lack of any right to participate in this litigation, Uintah

County has been forced to respond to Mr. Gardner and Ms. Kozlowicz’s recent frivolous filings

to preserve Uintah County’s rights and protect its interests. Uintah County’s Oppositions, (Dkt.

Nos. 749, 764—65), specifically demonstrated that Mr. Gardner and Ms. Kozlowicz’s most recent

motion to intervene (1) was untimely; (2) if granted, would infringe on sovereign immunity; (3)

otherwise fails to satisfy the requirements of Rule 24 of the Federal Rules of Civil Procedure; (4)

Mr. Gardner and Ms. Kozlowicz have no interest in this litigation due to their status pursuant to

the Ute Indian Supervision Termination Act of August 27, 1954, 25 U.S.C. §sS 67 —677aa; and

(5) Mr. Gardner and Ms. Kozlowicz’s reliance on the Indian Gaming Regulatory Act, 25 U.S.C.
                                              3

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§ 2701    etseq., is misplaced. In each instance, Uintah County also sought sanctions to deter

future frivolous filings by Mr. Gardner and Ms. Kozlowicz in this case, including a request that

the Court impose sanctions, including entering an order that Mr. Gardner and Ms. Kozlowicz are

not permitted to file any documents in the above-captioned litigation without express leave of

Court, and any documents filed without Court order need not be responded to by the parties to

the above-captioned litigation. Undeterred by Uintah County’s repeated requests for sanctions in

response to their recent frivolous filings, Mr. Gardner and Ms. Kozlowicz have continued to file

frivolous documents that are imposing a significant cost on Uintah County.

                                            ARGUMENT

          The Court should exercise its inherent authority to sanction Mr. Gardner and Ms.

Kozlowicz to deter future frivolous interference in this matter. In the absence of any Federal

Rule of Civil Procedure or statute, “a court may sanction bad faith conduct through its inherent

authority.” Tom v. S.B., Inc., 280 F.R.D. 603, 612 13 (D.N.M. 2012). That is, “[tb deter

frivolous and abusive litigation and promote justice and judicial efficiency, the federal courts are

empowered to impose monetary sanctions, by statutes and the rules of civil and appellate

procedure as well as their inherent right to manage their own proceedings.” Braley v. Campbell,

832 F.2d 1504, 1510 (10th Cir. 1987); see also Chambers v. NASCO, Inc., 501 U.S. 32, 49

(1991).

          Mr. Gardner and Ms. Kozlowicz’s actions in this litigation, including their ten most

recent frivolous filings in this litigation, (Dkt. Nos. 743, 750—51, 759—60, 767—70, 773-76), are

frivolous, decrease judicial efficiency, and impose significant costs on the parties to this

litigation. In order to preserve its rights and protect its interests, Uintah County has been forced

to expend significant amounts of time and effort to respond to Mr. Gardner and Ms. Kozlowicz’s
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frivolous filings. As discussed, this is not a recent phenomenon. For more than twenty years,

Mr. Gardner and Ms. Kozlowicz have been filing frivolous documents in this matter, despite

their status as non-parties. Not only are they non-parties, but the Court has refused to let them

intervene on four prior occasions. Without imposing sanctions, Mr. Gardner and Ms. Kozlowicz

will continue to inappropriately file frivolous documents with the Court, wasting the Court’s and

Uintah County’s time and resources.

        As the Tenth Circuit recently stated in sanctioning Mr. Gardner: “Mr. Gardner’s

shenanigans have consequences.” Gardner, 2014 WL 6679584, at *2. Mr. Gardner and Ms.

Kozlowicz’s recent frivolous filings, (Dkt. Nos. 743, 750—5 1, 759—60, 767—70, 773-76), are

further illustrations of Mr. Gardner and Ms. Kozlowicz’s shenanigans, not only in this litigation,

but in general. Recently, Judge Campbell also sanctioned Mr. Gardner after Mr. Gardner had

been warned that “any further attempt to relitigate [issues regarding the terminated mixed-blood

Utes] will result in sanctions.” See Gardner, 2014 WL 2465512, at *1*2. Given the prior

notice and sanctions imposed by various courts, Mr. Gardner and Ms. Kozlowicz should know

better than to continue filing frivolous documents, particularly in this litigation.

       The Court should not permit Mr. Gardner and Ms. Kozlowicz’s shenanigans to continue.

The Court should exercise its inherent authority and sanction Mr. Gardner and Ms. Kozlowicz

for their recent frivolous filings, (Dkt. Nos. 743, 750—51, 759—60, 767—70, 773-76). Specifically,

the Court should order Mr. Gardner and Ms. Kozlowicz to pay Uintah County the reasonable

attorneys’ fees and costs incurred in responding to Mr. Gardner and Ms. Kozlowicz’s recent

frivolous filings, (Dkt. Nos. 743, 750—5 1, 759—60, 767—70, 773-76). Furthermore, the Court

should order that Mr. Gardner and Ms. Kozlowicz are not permitted to file any documents in the

above-captioned litigation without express leave of Court, and any documents filed without
                                                5

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Court order need not be responded to by the parties to the above-captioned litigation. Such relief

is necessary to prevent Mr. Gardner and Ms. Kozlowicz from continuing to improperly interfere

in this litigation, thereby imposing unnecessary costs on the Court and the parties to the

litigation.

                                              CONCLUSION

            For the foregoing reasons, the Court should sanction Mr. Gardner and Ms. Kozlowicz and

order that they pay Uintah County the reasonable attorneys’ fees and costs incurred in

responding to their recent frivolous filings, (Dkt. Nos. 743, 750—51, 759—60, 767—70, 773-76).

In addition, the Court should order that Mr. Gardner and Ms. Kozlowicz are not permitted to file

any documents in the above-captioned litigation without express leave of Court, and any

documents filed without Court order need not be responded to by the parties to the above-

captioned litigation.

            DATED this   22nd   day of January 2015.

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 22w’ day of January, 2015, I electronically filed the foregoing

UINTAH COUNTY’S MOTION FOR SANCTIONS AGAINST MR. GARDNER AND

MS. KOZLOWICZ with the Clerk of Court using the CM ECF system, which sent notification

of such filing to the following:

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A copy of the foregoing will be mailed, postage prepaid, on this 22~ day of January, 2015 to:

          Edson Gardner
          Lynda Kozlowicz
          Post Office Box 472
          Fort Duchesne, UT 84026


                                      s Pauline Langston

1313962




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                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION


UTE INDIAN TRIBE OF THE UINTAH &
OURAY RESERVATION, UTAH,

       Plaintiff,                                              ORDER

V.
                                                          Consolidated Action
THE STATE OF UTAH, DUCHESNE                    Civil Nos. 2:13-cv-00276 & 2:75-cv-00408
COUNTY, a political subdivision of the State
of Utah; ROOSEVELT CITY, a municipal                    Judge Bruce S. Jenkins
corporation; DUCHESNE CITY, a municipal
corporation; MYTON, a municipal
corporation; and UINTAH COUNTY, a
political subdivision of the State of Utah
        Defendants.



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          On December 1, 2014, Edson Gardner and Lynda Kozlowicz filed a motion to intervene

in the above-captioned matter.’ Uintah County,2 the Ute Indian Tribe (the “Tribe”),3 Duchesne

City,4 and the State of Utah (the “State”)5 each opposed Mr. Gardner and Ms. Kozlowicz’s

motion to intervene, which Mr. Gardner and Ms. Kozlowicz replied to on December 31, 201 4~6

Since that time, Mr. Gardner and Ms. Kozlowicz have filed a number of additional motions and

documents with the Court.7 In response, Uintah County filed a motion for sanctions against Mr.

Gardner and Ms. Kozlowicz, seeking (1) attorneys’ fees and costs and (2) an order that neither

Mr. Gardner nor Ms. Kozlowicz are permitted to file any documents in the above-captioned

matter without express leave of Court, and that the parties need not respond to any document

filed by Mr. Gardner or Ms. Kozlowicz in the above-captioned matter without leave of Court.8



‘(Gardner & Kozlowicz’s Mot. to Intervene for Cmplt., filed December 1, 2014 (CM/ECF No. 743).)
2   (Uintah County’s Opp’n to Mr. Gardner & Ms. Kozlowicz’s Mot. to Intervene for Cmplt., filed December 15,
2014 (CM/ECFN0. 749).)

  (Tribe’s Mem. in Opp’n to Gardner & Kozlowicz’s Mot. to Intervene, filed December 17, 2014 (CM!ECF No.
753).)
‘   (Duchesne City’s Opp’n to Mr. Gardner & Ms. Kozlowicz’s Mot. to Intervene, filed December 18, 2014
(CMIECF No. 755).)
~ (State’s Opp’n to Mot. to Intervene, filed December 22, 2014 (CM/ECF No. 756).)

6   (Gardner & Kozlowicz’s Reply on Opp’n of P1. Ute Indian Tribe & for Decision, filed December 31, 2014
(CMIECF No. 767); Gardner & Kozlowicz’s Reply on Opp’n of Def. State of Utah, & the Wasatch County, &
Duchesne City, & for Decision, filed December 31, 2014 (CMIECF No. 768).)
‘   (Gardner & Kozlowicz’s Mot. for Writ & Temporary Inj., filed December 11, 2014 (CM/ECF No. 750); Gardner
& Kozlowicz’s Mot. to Intervene as P1’s, filed December 22, 2014 (CMJECF No. 759); Gardner & Kozlowicz’s
Reply for Attorney Fees & Costs in Opp’n to Def. Uintah County’s Opp’n to Cmplt., filed December 22, 2014
(CM/ECF No. 760); Gardner & Kozlowicz’s Ute V. AppI. for Prelim. Inj. & TRO, filed January 8, 2015 (CMJECF
No. 770); Gardner & Kozlowicz’s Mot. to Continue Hr’g Dated for Feb. 25, 2015 at 9:30 on Intervention and
Cmplt., filed February 19, 2015 (CM/ECF No. 791); Gardner & Kozlowicz’s Mot. for Voluntary Dismissal Without
Prejudice, & Grant Cmplt. in Opp’n to Defs., filed February 19, 2015 (CM/ECF 792).)
8   (Uintah County’s Mot. for Sanctions Against Mr. Gardner & Ms. Kozlowicz, filed January 22, 2015 (CM/ECF
No. 778).)
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On January 27, 2015, Mr. Gardner and Ms. Kozlowicz filed their opposition to Uintah County’s

motion for sanctions.9

           On January 27, 2015, the Court provided notice to the parties, Mr. Gardner, and Ms.

Kozlowicz that the Court would hold a hearing on February 25, 2015, in the context of which the

above-referenced motions would be heard.’° On February 20, 2015 the Court notified the

parties, Mr. Gardner, and Ms. Kozlowicz that two of Mr. Gardner and Ms. Kozlowicz’s motions

filed subsequent to the Court’s prior notice would also be heard in the context of the February

25, 2015 hearing.’1 Pursuant to such notice, a motions hearing came before the Court on

February 25, 2015. Edson Gardner and Lynda Kozlowicz appeared, in propria persona; J.

Preston Sticff J. Preston Sticff Law Offices, appeared representing the Tribe; Elizabeth Shaffer,

Elizabeth A. Shaffer, PLLC, appeared representing Richard Hackford; Jesse Trentadue, Suitter

Axland, PLLC, and associated counsel appeared representing Duchesne County; Jesse

Trentadue, Suitter Axland, PLLC, appeared representing Wasatch County; Randy S. Hunter and

Kathy Kinsman, Assist. Attorneys General, the Utah State Office of Attorney General, appeared

representing the State; Craig Smith and Bret Coombs, Smith Hartvigsen PLLC, appeared

representing Duchesne City; and E. Blame Rawson, Ray Quinney & Nebeker P.C., and

associated counsel appeared representing Uintah County.

           During the motions hearing, the Court heard arguments from Mr. Gardner, Ms.

Kozlowicz, Duchense and Wasatch Counties, Uintah County, the State, the Tribe, Duchesne

City, and counsel for Mr. Hackford concerning the above-referenced motions, including Mr.
~ (Gardner & Kozlowicz’s Reply Mem. to Def Uintah County Sanctions on Federal Questions, filed January 27,
2015 (CMIECFN0. 782).)
~°   (Notice of Hr’g on Mots,, filed January 27, 2014 (CMIECF No. 783).)

~ (Am. Notice of Hr’g on Mot., filed February 20, 2014 (CMJECF No, 793).)
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Gardner and Ms. Kozlowicz’s motion to intervene and Uintah County’s motion for sanctions.

        Mr. Gardner and Ms. Kozlowicz asserted a right to intervene in this matter based on the

(1) Ute Indian Supervision Termination Act of August 27, 1954, 25 U.S.C.      §~ 677—677aa; (2)
Indian Reorganization Act of June 18, 1934, 25 U.S.C.     §~ 461—494a; and (3) Indian Gaming
Regulatory Act, 25 U.S.C.   § 2701   et seq. Mr. Gardner and Ms. Kozlowicz also asserted a

general interest—including on behalf of third-parties—in upholding federal statutes and

enforcing this Court’s and the Tenth Circuit’s nilings in the Ute Tribe line of cages.

        Duchesne and Wasatch Counties asserted that Mr. Gardner and Ms. Kozlowicz lack

standing sufficient to intervene, and that if Mr. Gardner and Ms. Kozlowicz had standing to

intervene then so would every citizen of Duchesne and Wasatch Counties have the right to

intervene. Duchesne and Wasatch Counties requested that the Court relieve the parties of the

responsibility of responding to documents filed by Mr. Gardner and Ms. Kozlowicz, unless the

Court indicates a need to respond.

        Uintah County asserted that Mr. Gardner and Ms. Kozlowicz had failed to satisfy their

burden, pursuant to Rule 24 of the Federal Rules of Civil Procedure, to intervene either as of

right or permissively. Regarding intervention as of right, Uintah County argued that neither the

(1) Ute Indian Supervision Termination Act, (2) Indian Reorganization Act, nor (3) Indian

Gaming Regulatory Act provide Mr. Gardner or Ms. Kozlowicz any conditional or unconditional

right to intervene. Uintah County noted that the Court has previously denied Mr. Gardner and

Ms. Kozlowicz’s four prior motions to intervene, (see CMIECF Nos. 95, 142, 326), and argued

that, absent an overwhelming reason to change its prior rulings, this constitutes the law of the

case and should be followed. Regarding permissive intervention, Uintah County argued that Mr.

Gardner and Ms. Kozlowicz failed to raise any interest in the litigation sufficient to intervene;
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but regardless, Uintah County asserted that the Tribe adequately represents Mr. Gardner and Ms.

Kozlowicz’s announced interests and that Mr. Gardner and Ms. Kozlowicz, proceeding in

propria persona, cannot represent others’ interests. In closing, Uintah County joined Duchesne

and Wasatch Counties’ request that the Court relieve the parties of the responsibility of

responding to documents filed by Mr. Gardner and Ms. Kozlowicz, unless the Court indicates a

need to respond.

        The State joined in the counties’ responses and requests, noting difficulty at

understanding Mr. Gardner and Ms. Kozlowicz’s motions and asserting their involvement would

do nothing to further this litigation.

        The Tribe asked that Mr. Gardner and Ms. Kozlowicz’s motion to intervene be denied for

the reasons previously expressed, including because the Court has previously denied Mr.

Gardner and Ms. Kozlowicz’s requests to intervene and they have offered no new reasons to

support their intervention at this time. The Tribe further argued that Mr. Gardner and Ms.

Kozlowicz’s motion to intervene is untimely and their intervention at this juncture would be

disruptive to the litigation. Finally, the Tribe asserted that Mr. Gardner and Ms. Kozlowicz have

failed to state any personal stake in the litigation that would be sufficient to intervene, and they

cannot represent the rights of others.

       Duchesne City joined Uintah County and Duchesne County, and reiterated the

untimeliness of Mr. Gardner and Ms. Kozlowicz’s motion to intervene. Duchesne City asserted

that Mr. Gardner and Ms. Kozlowicz have known of their interest in this litigation since at least

December 15, 1997; their previous motions to intervene have been denied, and Mr. Gardner and

Ms. Kozlowicz have provided no reason why the Court should change its position; and the

parties would be prejudiced if Mr. Gardner and Ms. Kozlowicz were permitted to intervene given
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the advanced stage of the litigation.

        Counsel for Mr. Hackford joined in the prior arguments and argued that Mr. Gardner and

Ms. Kozlowicz have failed to set forth sufficient grounds to intervene and it is difficult to

respond to their motions, due to a lack of clarity.

        Mr. Gardner and Ms. Kozlowicz responded that parties do not adequately represent their

interests.

        After considering the arguments, the Court ruled from thc bench, (1) denying Mr.

Gardner and Ms. Kozlowicz’s motion to intervene; (2) striking the remainder of Mr. Gardner and

Ms. Kozlowicz ‘s motions as surplusage, due to the failure of their motion to intervene; and (3)

partially granting Duchesne and Uintah Counties’ motion for sanctions by requiring that Mr.

Gardner and Ms. Kozlowicz obtain leave of Court prior to filing any document in the above-

captioned matter, and in the absence of such leave the parties need not respond to any document

filed by Mr. Gardner or Ms. Kozlowicz in the above-captioned matter.

        For these reasons,

        IT IS ORDERED that Mr. Gardner and Ms. Kozlowicz’s Motion to Intervene for

Complaint, filed December 1, 2014 (CM/ECF No. 743), is DENIED;

        IT IS FURTHER ORDERED that because Mr. Gardner and Ms. Kozlowicz’s motion to

intervene has been denied, Mr. Gardner and Ms. Kozlowicz’s (1) Motion for Writ & Temporary

Injunction, filed Deccmbcr 11, 2014 (CM/ECF No. 750); (2) Motion to Intervene as Plaintiffs,

filed December 22, 2014 (CM ECF No. 759); (3) Reply for Attorney Fees & Costs in Opposition

to Defendant Uintah County’s Opposition to Complaint, filed December 22, 2014 (CM/ECF No.

760); (4) Ute V. Application for Preliminary Injunction & Temporary Restraining Order, filed

January 8, 2015 (CM/ECF No. 770); (5) Motion to Continue Hearing Dated for Feb. 25, 2015 at
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9:30 on Intervention and Complaint, filed February 19, 2015 (CM/ECF No. 791); (6) Motion for

Voluntary Dismissal Without Prejudice, & Grant Complaint in Opposition to Defendants, filed

February 19,2015 (CM/ECF 792) are hereby STRICKEN AS SURPLUSAGE; and

             IT IS FURTHER ORDERED that Duchesne and Uintah Counties’ Motion for

Sanctions Against Mr. Gardner & Ms. Kozlowicz, filed January 22, 2015 (CM/ECF No. 778)

and made orally at the hearing, is GRANTED IN PART as to requiring that Mr. Gardner and Ms.

Kozlowicz obtain leave of Court prior to filing any document in the above-captioned matter, and

in the absence of such leave the parties need not respond to any document filed by Mr. Gardner

or Ms. Kozlowic7 in the above-captioned matter, and DENIED TN PART as to all othcr issues.

          DATED this I? day of March, 2015.

                                        BY THE COURT:



                                        Bruce S. Jenkins
                                        United States Seni                          I    rict Judg
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on this   6th   clay of March, 2015, I served the foregoing ORDER via

electronic mail to the following:

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A copy of the foregoing will be mailed, postage prepaid, on this                     6th   day of March, 2015 to:

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       Lynda Kozlowicz
       Post Office Box 472
       Fort Duchcsne, UT 84026


                                          Is! Marci Meyers

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